Kenneth J. Cool, P.C. et al v. Berkeley Law & Technology Group, LLP                                                   Doc. 8
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                                         UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF COLORADO

             Civil Action No. 07-cv-01088 WYD-MEH

             KENNETH J. COOL, P.C., a Colorado corporation
             and KENNETH J. COOL
                   Plaintiff,

             v.

             BERKELEY LAW & TECHNOLOGY GROUP, LLP
             f/k/a BERKELEY LAW & TECHNOLOGY GROUP, LLC,
             an Oregon limited liability partnership

                     Defendant.



                              NOTICE OF DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)


                     Plaintiffs Kenneth J. Cool, P.C. and Kenneth J. Cool, through undersigned counsel,

             hereby notice the dismissal of this action, without prejudice, pursuant to Federal Rule of Civil

             Procedure 41(a)(1). Following the filing and service of Plaintiffs’ Complaint in this action,

             Defendants have not filed or served an answer or motion for summary judgment responding to

             Plaintiff’s Complaint, such that this matter may be dismissed through the filing of this Notice.

                     Dated: June 11, 2007

                                                                      Snell & Wilmer L.L.P.

                                                                      s/ Katrin Miller Rothgery
                                                                      James D. Kilroy, #20872
                                                                      1200 17th St., Suite 1900
                                                                      Denver, CO 80202
                                                                      Telephone 303.634.2000
                                                                      Facsimile 303.634.2020

                                                                      Attorneys for Plaintiffs




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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of June, 2007, a true and correct copy of the
foregoing NOTICE OF DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1) was filed and served
electronically, via the ECF/CMF Filing System, upon the following:

         Romney Philpott
         Perkins Coie, LLP
         1899 Wynkoop Street, Suite 700
         Denver, CO 80202

                                            s/ Stephannie Harris _____________________


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